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 1                                                                 October 20, 2021

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 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10                                                 Case No. 5:20-cv-01482-SB-SHK
11   UNITED STATES OF AMERICA,
                                                   JUDGMENT
12
                                  Plaintiff,
13
14   v.
15   200.37 ACRES OF LAND, MORE OR
16   LESS, SITUATE IN SAN
     BERNARDINO COUNTY,
17
     CALIFORNIA, CINCAL ORES, INC.,
18   COUNTY OF SAN BERNARDINO,
     CALIFORNIA, KATHARINE
19
     THOMPSON, and NANCY GENN,
20
                                  Defendants.
21
22
23
             In accordance with the Court’s October 15, 2021 Order on Just Compensation,
24
     Dkt. No. 54, IT IS HEREBY ORDERED THAT:
25
          1. Claimant Katharine Thompson is entitled to $30,050 of the $60,100 in property
26
             value currently in deposit in the Court’s registry.
27
28

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 1     2. Claimant Nancy Genn is entitled to $30,050 of the $60,100 in property value
 2        currently in deposit in the Court’s registry.
 3
 4        The Clerk of Court is to release the funds from the registry to claimants
 5   Katharine Thompson and Nancy Genn. IT IS SO ORDERED.
 6
 7   Dated: October 20, 2021         _______________________________________
 8                                        STANLEY BLUMENFELD, JR.
                                        UNITED STATES DISTRICT JUDGE
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